            Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.1 Page 1 of 17
AO 106 (Rev . 04/1 0) Application for a Search Warrant



                                        UNITED STATES DISTRICT Cou T                                              JUL O2 2019
                                                                       for the
                                                          Southern District of California                CLE RK u s 0 Ism1c1 COURT
                                                                                                      SOUTHERN DISTRICT OF CAL~ft~-f•
                                                                                                      BY
              In the Matter of the Search of                              )
         (Briefly describe the prop erty to be searched                   )
          or identify the person by name and address)
                        Google, Inc.
                                                                          )
                                                                          )
                                                                                  Case No.   19MJ2762
                  1600 Amphitheater Parkway                               )
                   Mountain View, California                              )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
prop erty to be searched and give its location) :

  See Attachment A
                   Northern District of      California
located in the - - - -----              - ---- - - - -- - - , there is now concealed (identify the
person or describe the property to be seized) :

 See Attachment B

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
               ~ evidence of a crime;
                  0 contraband, fruits of crime, or other items illegally possessed;
                  0 property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                           Offense Description
        18 USC 554                                  Export Contrary to Law
        16 USC 1538(c)&(e)1540(b)(1)                Illegal Export of Wildlife
        18 USC 371                                  Conspiracy
          The application is based on these facts:



           ~ Continued on the attached sheet.
           0 Delayed notice of       days (give exact ending date if more than 30 days: _ __ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                     d½eJwk~   Applicant 's signature

                                                                                      Michelle Zetwo, Special Agent, NOAA
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:       -:+-/2-/
              r I
                     {j

City and state: San Diego, California                                              Hon. Jill L. Burkhardt, US Magistrate Judge
                                                                                              Printed name and title
   Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.2 Page 2 of 17




                              ATTACHMENT A



      Google, Inc. is an Internet Service Provider with its pnmary computer
information systems and other electronic communications and storage systems,
records and data located at 1600 Amphitheater Parkway, Mountain View, California
94043.
      Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.3 Page 3 of 17




                                  ATTACHMENTB

I.      Service of Warrant

        The officer executing the warrant shall permit Google, Inc., as custodian of
        the computer files described in Section II below, to locate the files and copy
        them onto removable electronic storage media and deliver the same to the
        officer.

II.     Items to be provided by the ISP

        All subscriber and/or user information, all electronic mail, images, text
        messages, histories, phone and VoIP logs, contacts or friend lists, profiles,
        method of payment, detailed billing records, access logs, backup data,
        transactional data, and any other files or records associated with the following
        account and screen name(s):

         1. aquamartj@gmail.com (for the period from January 4, 2016 to present)



III.    The search of the data supplied by the ISP pursuant to this warrant will be
        conducted by authorized federal agents of the National Oceanic and
        Atmospheric Administration and/or the U.S. Fish and Wildlife Service, as
        provided in the "Procedures For Electronically Stored Information" of the
        affidavit submitted in support of this search warrant and will be limited to the
        date ranges set forth above in item II. and to the seizure of:

               1.    Records relating to the exportation of coral from the United
        States, including records identifying the date of export, the nature and quantity
        of the items exported, the value of the items exported, the identity of the
        transporter, and the name, address, telephone number, and any other
        identifying information provided the exporter and recipient;
Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.4 Page 4 of 17




          2.    Records relating to the sale of coral that had been exported from
  the United States, including records identifying the date of purchase and
  export, the nature and quantity of the items purchased and exported, the value
  of the items purchased and imported, the identity of the transporter, and the
  name, address, telephone number, and any other identifying information
  provided by the exporter, purchaser and recipient, and the method and means
  of payment;
          3.    Records relating to the shipping, transportation and storage of
  coral, including the dates of transport, the nature and quantity and value of
  items transported, the method and means of payment, and the name, address,
  and telephone number and other identifying information provided by the
  shipper and recipient;
          4.   Records relating to the purchase, sale and trade of coral including
  the date of the purchase and/or sale or trade, the price or item offered in trade,
  the method and means of payment, the name, address, telephone number used
  by the buyer and seller, and the nature and quantity of items purchased and
  sold;
          5.    Records and images tending to identify persons exerc1smg
  dominion and control over the target accounts;
          6.    Financial records related to the purchase, sale, importation,
  exportation and transportation of coral;
          7.    Images (still and video) of coral exported, purchased, traded and
  sold or intended to be exported, purchased, traded and sold;
          8.    Records of communication with any governmental entity
  (federal, state, local or foreign) regarding the purchase, sale, importation or
  exportation of coral;
Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.5 Page 5 of 17




         9.    Permits and licenses issued by a government entity (federal,
  state, local or foreign) related to the importation, exportation, transportation,
  capture, purchase and sale of coral;
         10.   Records indicating problems or questions from government
  agencies (federal, state, local and foreign) relating to the importation,
  exportation, transportation, sale and purchase of coral;
         11.   Records relating to the legal requirements for importation,
  exportation, purchase and sale of coral in both the United States, Australia and
  the United Kingdom and records reflecting knowledge of the permits and/or
  CITES status of species of fish and wildlife;
         12.   Records tending to identify co-conspirators in the exportation or
  trafficking of coral;

  which constitute evidence of violations of 18 U.S.C. § 371 (Conspiracy); 18
  U.S.C. §554 (Exportation Contrary to Law); 16 U.S.C. §§ 3372(d) and
  3372(d) (Submission of False Records); Title 16, United States Code,
  Sections 1538(e) and 1540(b)(l) (knowing exportation of fish and wildlife
  without filing the required declaration); Title 16, United States Code, Sections
  153 8(c)(1) and l 540(b )(1) (knowing violation of regulations implementing
  the Convention on International Trade in Endangered Species) related to
  illegal trade in coral.
        Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.6 Page 6 of 17




 1                                AFFIDAVIT IN SUPPORT OF
 2                           APPLICATION FOR SEARCH WARRANT

 3 I, Michelle Zetwo, being duly sworn, hereby depose and state as follows:
 4          1.    I am a Special Agent (SA) of the United States Department of Commerce,
 5 National Oceanic and Atmospheric Administration (NOAA), Office of Law Enforcement,
 6 and have been so employed for approximately 21 years, currently assigned to the San Diego
 7 field office. Prior to my employment as a special agent, I was an enforcement officer for
 8 NOAA in Oregon for one year, inspecting commercial fishing vessels and enforcing federal
 9 fisheries laws. Before conducting inspections as an enforcement officer, I worked for
10 NOAA for seven years as an oceanographer at the Atlantic Oceanographic and
11   Meteorological Laboratories in Miami, Florida, performing chemical analysis of the marine
12   atmosphere and sediment analysis. I have a B.S. in Marine Science and Biology from the
13   University of Miami (Florida) and a Master of Science in Ocean Science from Nova
1 4 Southeastern University in Fort Lauderdale.
15         2.     I have completed the basic Criminal Investigator Training Program at the
1 6 Federal Law Enforcement Training Center in Glynco, Georgia, as well as advanced training
17   in interviewing techniques and a law enforcement Spanish language course. I also receive
18   annual training regarding recent changes in federal laws and regulations. I have provided
1 9 training in fisheries investigations techniques to foreign law enforcement officials in
20   Panama.     Since approximately 2012, I have been attending international fisheries
2 1 enforcement meetings between the United States and Mexico as a representative ofNOAA
2 2 law enforcement.        I have conducted numerous wildlife investigations during my
2 3 employment as a special agent and I have participated in the execution of multiple search
24   warrants relating to violations of state and federal wildlife and fisheries laws.
25
           3.     This affidavit is in support of an application by the United States of America
26
     for search warrants for the internet service, email and web-hosting provider ("Google"),
27
     hereinafter referred to as the internet service provider. I seek authority to search the internet
28
        Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.7 Page 7 of 17



 1   service provider, as described in the respective Attachments A, for data located in the
 2   following email account:
 3
                    1. aquamartj@gmail.com
 4   for items that constitute evidence of offenses relating to the illegal trade in protected species
 5   of coral. These offense include violations of Title 16, United States Code, Sections 1538(e)
 6
     and 1540(b)( 1), which prohibit the knowing exportation of fish and wildlife without filing
 7   the required declaration Form 3-177 with the Fish and Wildlife Service; Title 16, United
 8   States Code, Sections 153 8(c )(1) and l 540(b )(1 ), which prohibit trade in violation of
 9   regulations implementing the Convention on International Trade in Endangered Species;
lO   and Title 18, United States Code, Sections 371 .(conspiracy) and 554 (prohibiting
11   exportations contrary to law), as further described in the Attachments B.
12          4.      The facts set forth in this affidavit are based on my own personal knowledge,
13   including information gained through my training and experience and knowledge obtained
14   from other individuals during this investigation, including other law enforcement officers
15   and agents. Because this affidavit is submitted for the limited purpose of establishing
16 probable cause in support of the application for a search warrant, it does not set forth each

17 fact that I, or others, have learned during this investigation.
18        APPLICABLE U.S. LAWS
19             5.   Section 554 of Title 18 of the United States Code prohibits the fraudulent or
20   knowing exportation of merchandise from the United States contrary to any U.S. law or
21   regulation (provided that there is a statute specifying that a violation of the regulation is a
22   crime), or in any manner facilitating the transportation, or sale of such merchandise,
23   knowing it to be intended for export contrary to law. Section 371 of Title 18 of the United
24   States Code prohibits willfully conspiring to commit offenses against the laws of the United
25   States.
26             6.   The Lacey Act, Section 3372(a)(a)(l) of Title 16 of the United States Code,
27   states that it is unlawful for any person to export any fish or wildlife in violation of federal
28   law.

                                                    2
     AFFIDAVIT IN SUPPORT OF APPLICATION
     FOR SEARCH WARRANT
        Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.8 Page 8 of 17



 1         7.     The Endangered Species Act, Sections 1538(c)(l) and 1540(b)(l) of Title 16
 2   of the United States Code, prohibits engaging in trade in a species covered by the
 3   Convention on International Trade in Endangered Species (CITES) contrary to the
 4   provisions of the agreement. The regulations prohibit the import, export, re-export and
 5   any international trade in a species covered by CITES unless in compliance with the
 6   regulations. 50 C.F.R. §23.13(a). In order to lawfully export a species covered by
 7   CITES, the exporter must obtain, at a minimum, a CITES Export Permit from the U.S.
 s Fish and Wildlife Service ("FWS"). 50 C.F.R. §§23.20(e) and 23.36. Additional
 9   paperwork may be required, depending on which CITES Appendix lists the wildlife. The
10   United States, the United Kingdom and Australia are all signatories to CITES.
11         8.     Import/export licenses from the FWS are required for the commercial
12   importation and exportation offish and wildlife, pursuant to 16 U.S.C. § 1538(d)(l), and 50
13   C.F.R. §14.91. Federal regulations further require that a declaration form (Form 3-177) be
14   presented to FWS with each import and export, pursuant to 50 C.F .R. § 14.61 and 50 C.F .R.
15   § 14.63, respectively. The form 3-177 requires information to be provided, under penalty of
16   perjury, regarding the name and address of the importer and exporter, the FWS
17   import/export permit number, the name of the transporter and the Customs broker, and the
18   scientific and common name of the species involved, as well as the quantity, value, and
1 9 country of origin. In addition, to obtain Customs clearance of wildlife exported from the

2 O United States (required for a lawful export), an exporter must provide to FWS all permits

21   or other documents required by the laws or regulations of any foreign country. 50 C.F.R.
22   §14.52(c)(3).
23         9.     Pursuant to 50 C.F .R. § 14.93(b )(4 ), an importer or exporter of fish and wildlife
24   must keep, in a U.S. location, import and export records that correctly describe each import
25   or export of wildlife made under the import/export license (by common and scientific name,
26   quantity, country of origin and date of import or export), and any subsequent disposition
27   made of the wildlife. The regulations further require the importer/exporter to maintain
28   records indicating the name, address, telephone number and email address of the person or

     AFFIDAVIT IN SUPPORT OF APPLICATION            3
     FOR SEARCH WARRANT
        Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.9 Page 9 of 17



 1   business that received the wildlife, as well as copies of all permits required by the laws and
 2   regulations of the United States and by the laws of the country of export or origin. This
 3   regulation requires such records to be maintained for a period of five years.
 4           WILDLIFE PROTECTED BY U.S. LAW
 5           10.    Coral are aquatic invertebrates and are members of the class Anthozoa. All
 6   hard corals are listed as CITES Appendix II, including Favia and Acropora species. For
 7   example, in 1985, stony corals (order Scleractinia), blue corals (Helioporidae) , organ pipe
 8   corals (Tubiporidae) and fire corals (Milleporidae) were listed on Appendix II of CITES.
 9   Lace corals (Stylasteridae) are also listed on Appendix II. In 1981 , black coral (order
1o   Antipatharia) was listed on Appendix II of CITES. Three species of coral ( Canthaarellus
11   noumese, Siderastrea Gly nni and Tubastaea jloreana) are listed as "endangered" under the
12   Endangered Species Act, 16 U.S.C. § 1538. The species of coral Euphillia paradivisa is
13   listed as "threatened" throughout its range under the Endangered Species Act, 16 U.S.C. §
14   1538.      Coral is regulated in the United States as wildlife, for which all of the FWS
15   requirements relating to import/export permits and declarations are applicable. 50 C.F .R. §
16   10 .12. All commercial coral imports and exports are required to be declared to the FWS.
17   The regulatory definition of wildlife includes all forms of wildlife, whether alive or dead,
18   and any part, product, egg, or offspring thereof.
19           INFORMATION PROVIDED BY AQUA SD EMPLOYEES
20           11 .   AquaSD is a company located on Clairemont Mesa Boulevard in San Diego,
21   which sells coral and other marine life for aquariums. AquaSD is owned by Will Chang
22   and employs Ramon Wu. On February 7, 2019 Chang and Wu each pled guilty to
23   submitting a false record with regard to falsely labeling coral which was then exported
24   from the United States to foreign countries such as England and Ireland, in violation of
25   Title 16 United States Code§ 3373(d). As part of their plea agreements, both Chang and
26   Wu agreed to meet with the investigating agents to provide information on other possible
27   targets.
28


     AFFIDAVIT IN SUPPORT OF APPLICATION
                                                   4
     FOR SEARCH WARRANT
       Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.10 Page 10 of 17



 1            12.      On February 22, 2019, I participated in a debriefing with -William Chang and
 2   his counsel at the San Diego United States Attorney's office. Chang advised Jose Cupido
 3   is the owner of AquamarTJ, a business in Mexico that sells coral and fish. Cupido has
 4   purchased coral from AquaSD and exported the coral to Mexico. Chang said that Cupido
 5   buys coral from him at Aqua SD about once per week, puts it in his personal truck, and
 6   transports it to Mexico. He said Coast Tropical was Cupido' s export broker. Chang said
 7   Cupido may have a warehouse in San Diego, CA.
 8            13.      Later that day, FWS Special Agent Glenn Yeck performed a search of the FWS
 9   database relating to AquamarTJ and Cupido. Yeck located no record of AquamarTJ or
1o   Cupido possessing an FWS Import/Export license, or making any declarations of imports
11   or exports of coral.
12            14.      On February 25 , 2019, I contacted Mexican Customs Officer Olga Trujano,
13   and requested that she check Mexican Customs database for imports and exports by
14   Cupido. Officer Trujano advised that there are no records of imports or exports under the
15   names AquamarTJ, Aquamar Tijuana, or Jose de Jesus Cupido Meza. Her email
16   contained information from the database regarding Cupido' s name which included the
17   following: Jose de Jesus Cupido Meza is his full name, the email is listed as
18   aquamartj@gmail.com, and economic activity is listed as pet retail trade, medications,
19   accessories and other products. Officer Trujano said that even though there are no records
2o   of Cupido or his business importing or exporting, he is listed in the database because he
21   has a personal "RFC" number (similar to our Social Security number), which is a tax
22   identification number to track compliance with tax obligations in Mexico.
23      15.         I performed an Internet search and found a Facebook page for AquamarTJ
24   (www.facebook.com/AquaMartijuana) which shows a photograph of a storefront bearing
25   the name "Aquamartj" with wording underneath in Spanish which reads (translated to
26   English) accessories, reef, marine and tropical fish. The Facebook page lists the address
27   as Mariscal Sucre 70, Benton, Plaza Los Olivos Tijuana, Baja California 22106. The
28   Facebook website shows photographs of corals and fish. AquamarTJ has an Instagram

                                                      5
     AFFIDAVIT IN SUPPORT OF APPLICATION
     FOR SEARCH WARRANT
          Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.11 Page 11 of 17



 1   account which lists "Reef, Corals, Fish, Sale" under the business name as well as color
 2   pictures of corals and a starfish.
 3         16.     On March 15, 2019, I participated in a debriefing with Ramon Wu and his
 4   counsel at the San Diego United States Attorney's office. Wu said that Cupido was a
 5   customer at AquaSD who has a business called AquamarTJ in Mexico. Cupido purchases
 6   products approximately one to two times per month at AquaSD and 99% of what Cupido
 7   buys is coral. Some of the coral species Cupido has bought in the past includes Euphillia,
 8   Favia, and Acropora species (which are covered by Appendix II of CITES). Wu said that
 9   on February 15, 2019, Cupido bought approximately 20-23 pieces of coral worth $1,800.
1o   Wu found a receipt on his cell phone for this sale to Cupido. Wu said Cupido called him
11   from the border that day and told Wu he needed a copy of the receipt.
12               17.   Wu said Cupido normally comes to AquaSD, picks out the coral he wants
13   and transports it in a Toyota Tacoma which Wu believes is Cupido's personal truck. Wu
14   has also seen Cupido in a commercial truck with a roll up back door. He said the truck did
15   not have any business mimes written on it. Cupido normally communicates with Wu
16   using a WeChat type web application.
17               18.   Wu said that approximately one month ago Cupido had a conversation with
18   him regarding exporting to Mexico and told Wu that he imported coral "legally" to
19   Mexico. Wu said Cupido told him he uses the export broker Coast Tropical Fish, and the
20   contact at the business is Jorge Luna.
21               19.   Wu said imports to the United States are expensive so Cupido and others take
22   split shipments, meaning someone imports a quantity of coral to the United States and this
23   is split between a few different businesses.
24               20.   On March 18, 2019, Wu's defense counsel provided me with a copy of the
25   receipt for coral purchased by Cupido on February 15, 2019, which Wu described during
26   his debrief. The receipt listed 16 items of nicknames for corals. I performed an Internet
27   search the coral nicknames on the list which corresponded to the following genus names:
28   //

                                                      6
     AFFIDAVIT IN SUPPORT OF APPLICATION
     FOR SEARCH WARRANT
       Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.12 Page 12 of 17



 1         Euphyllia, Trachyphyllia, Plerogyra, Cynarina, Acropora, Montipora, Favia, and
 2   Echinophyllia. These names are all listed as CITES Appendix II on the CITES website.
 3   I also performed a check on Cupido's border crossing history. United States Customs and
 4   Border Protection ("CBP") border crossing history shows that Cupido crossed the
 5   U.S./Mexico border on February 15, 2019, at 6:08 PM PST.
 6         21.    On March 21, 2019, I received a copy of Cupido' s border crossing history and
 7   a photograph of Cupido at the Otay Mesa Port of Entry on March 4, 2019. The photograph
 8   shows a male providing his identification to the CBP officer from a dark colored Toyota
 9   pickup truck.
10         22.    On May 22, 2019, I received an email from Chang's defense counsel which
11   contained a large PDF document which included email order requests for corals made from
12   aquamartj@gmail.com to aquasandiego@gmail.com for the period from January 4, 2016
13   to January 30, 2019.
14         PACKAGE SEIZED ON MAY 31, 2017
15         23.    On May 31, 201 7, FWS Wildlife Inspector Cory Kawabata seized a package
16   at the International Mail Facility in Torrance, California. The package was sent from
17   Ashley Tam in Hong Kong to Wahib Jose Cupido Aquamartj at 9465 Customshouse Place,
18   Suite B San Diego, California 92154. The contents of the package were listed as "Aquarium
19   decoration 2 pcs" and the value was listed as $30.00. The package contained 120 live
2o   shrimp. The package contained a commercial quantity of shrimp which was not declared
21   to the FWS. Wildlife Inspector Kawabata called the phone number on the declaration form
22   and spoke with Wahib Cherit, who said he owned a warehouse in San Diego where Cupido
23   rented a space. He said Cupido imports fish and aquarium supplies. Cherit said Cupido
24   lived in Tijuana, Mexico and drove to San Diego when shipments arrived at the San Diego
25   warehouse.
26         24.    On June 1, 2017, FWS Wildlife Inspector Rene Galindo conducted a
27   compliance interview in Spanish with Cupido via telephone. During the interview, Cupido
28   advised that he owned a business in Tijuana and only imported dry goods to Mexico for his

     AFFIDAVIT IN SUPPORT OF APPLICATION         7
     FOR SEARCH WARRANT
       Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.13 Page 13 of 17



 1   store. Cupido also stated he buys hard coral from a supplier in New York for personal use.
 2   Wildlife Inspector Galindo explained the FWS regulations pertaining to imports and
 3   exports. He explained that hard corals are protected and are required to be declared to the
 4   FWS upon export. He also told Cupido that he must have a CITES permit to export coral
 5   to Mexico whether it be for personal or commercial use. Wildlife Inspector Kawabata found
 6   no record in the FWS database of any live exports to Mexico for Cupido or his business
 7   Aquamartj.
 s         PAYP AL RECORDS
 9         25.       On June 7, 2019, I performed an analysis of Cupido's PayPal records,
1o   searching for payments made by Cupido to businesses which sell coral and marine tropical
11   fish. Cupido made two payments to AquaSD using PayPal in 2016, 11 payments in 2017,
12   and one payment on February 28, 2019. There were also two payments made to VW Reefs
13   in 2016. The email Cupido used in these transactions is aquamartj@gmail.com.
14         26.    PayPal records also show that Cupido made payments to AquaSD, Cali Kid
15   Corals, Coral Mafia, Pirates Reef Corals, and Sea Side Aquatics. The transactions with
16   these businesses occurred from April 2016 through February 2019.
17         RECENT PURCHASE FROM AQUA SD
18         27.    On June 25, 2019, Ramon Wu advised (through his attorney) that Cupido had
19   purchased coral at AquaSD that day. On June 26, 2019, a CBP officer confirmed that
2O   Cupido' s vehicle (Mexican plate AP 20-4 77) entered the United States from Mexico at
21   12:37 PM PST and left the United States at 3:53 PM PST on June 25, 2019.       On June 28,
22   2019 I received a copy of a sales invoice (through William Chang' s attorney). The invoice
23   lists the sale of 17 pieces of coral on June 26, 2019, total value $2,500 from AquaSD to
24   Cupido. The invoice reflected the purchase of sixteen specimens of the following species
25   which are listed on Appendix II of CITES: Euphyllia, Micromussa, Alveopora, and
26   Lobophyllia .
27         28.    Based on my training and experience, and conversations with other law
28   enforcement agents, I know that commercial dealers in marine species post images of their

     AFFIDAVIT IN SUPPORT OF APPLICATION         8
     FOR SEARCH WARRANT
       Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.14 Page 14 of 17



 1   products on the internet and send images and messages via email, Facebook Messenger,
 2   WhatsApp, and other social media platforms to potential customers to facilitate sales. In
 3   particular, with respect to international sales, I know that business is conducted via
 4   electronic mail, including transmission of invoices and records of payment and shipping
 s records, in order to facilitate the international transactions.         I know that in other
 6   investigations I have seen shipping records, receipts, financial records, and documents sent
 7   via email. I also know that such businesses contact regulatory agencies (federal, state, local
 8   and foreign) via email, seeking and providing information and documentation.             Such
 9   businesses are also known to send and receive via email links to informational sites on the
1o   internet relevant to their business.
11             PROCEDURES FOR ELECTRONICALLY STORED INFORMATION
12         29.    Federal agents and investigative support personnel are trained and experienced
13   in identifying communications relevant to the crimes under investigation. The personnel of
14   Google, Inc. are not. It would be inappropriate and impractical for federal agents to search
15   the vast computer network of the internet service providers for the relevant accounts and
16   then to analyze the contents of those accounts on the premises of the internet service
17   providers. The impact on the internet service providers' businesses would be disruptive and
18   severe.
19         30.    Therefore, I request authority to seize all content, including electronic mail and
2o   attachments, stored instant messages, stored voice messages, photographs, and any other
21   content from the Google Inc. email account aquamartj@gmail.com as described in
22   Attachment B. In order to accomplish the objective of the search warrant with a minimum
23   of interference with the business activities of the internet service providers, to protect the
24   privacy of Google, Inc. subscribers whose accounts are not authorized to be searched, and
25   to effectively pursue this investigation, I seek authorization to allow the internet service
26   providers to make a digital copy of the entire contents of the account subject to seizure.
27   That copy will be provided to me or to any authorized federal agent. The copy will be
28   imaged and the image will then be analyzed to identify communications and other electronic

     AFFIDAVIT IN SUPPORT OF APPLICATION           9
     FOR SEARCH WARRANT
          Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.15 Page 15 of 17



 1   records subject to seizure pursuant to Attachment B. Relevant electronic records will be
 2   copied to separate media. The original media will be sealed and maintained to establish
 3   authenticity, if necessary.
 4           31.   Analyzing the data to be provided by the internet service providers may require
 5   special technical skills, equipment, and software. It may also be very time-consuming.
 6   Searching by keywords, for example, often yields many thousands of "hits," each of which
 7   must be reviewed in its context by the examiner to determine whether the data is within the
 8   scope of the warrant. Merely finding a relevant "hit" does not end the review process.
 9   Keyword searches do not capture misspelled words, reveal the use of coded language, or
1o   account for slang. Keyword searches are further limited when electronic records are in or
11   use foreign languages.        Certain file formats also do not lend themselves to keyword
12   searches. Keywords search text. Many common electronic mail, database and spreadsheet
13   applications, which files may have been attached to electronic mail, do not store data as
14   searchable text. Instead, such data is saved in a proprietary non-text format and, as the
15   volume of storage allotted by service providers increases, the time it takes to properly
16   analyze recovered data increases dramatically.        The Internet Service Providers do not
17   always organize the electronic files they provide chronologically, which makes review even
18   more time consuming and may also require the examiner to review each page or record for
19   responsive material.
2o           32.   Based on the foregoing, searching the recovered data for the information
21   subject to seizure pursuant to this warrant may require a range of data analysis techniques
22   and may take weeks or even months. Keywords need to be modified continuously based
23   upon the results obtained and, depending on the organization, format, and language of the
24   records provided by Google, examiners may need to review each record to determine if it
25   is responsive to Attachment B. The personnel conducting the examination will complete
26   the analysis within one hundred twenty (120) days of receipt of the data from the service
27   provider, absent further application to this court.
28   II

     AFFIDAVIT IN SUPPORT OF APPLICATION
                                                   10
     FOR SEARCH WARRANT
       Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.16 Page 16 of 17



 1         33.    Based upon my experience and training, and the experience and training of
 2   other agents with whom I have communicated, it is necessary to review and seize all
 3   electronic mails that identify any users of the subject account and any electronic mails sent
 4   or received in temporal proximity to incriminating electronic mails that provide context to
 s the incriminating mails.
 6         34.    All forensic analysis of the imaged data will employ search protocols directed
 7   exclusively to the identification and extraction of data within the scope of this warrant.
 8         GENUINE RISKS OF DESTRUCTION OF DATA
 9         3 5.   Based upon my experience and training, and the experience and training of
1o   other agents with whom I have communicated, electronically-stored data can be
11   permanently deleted or modified by users possessing basic computer skills. In this case,
12   only if the subject receives advance warning of the execution of this warrant, will there be
13   a genuine risk of destruction of evidence. A preservation letter has been sent to Google,
14   Inc. regarding the target account.
15         PRIOR ATTEMPTS TO OBTAIN DATA
16         36.    The United States has not attempted to obtain this data by other means other
17   than as described herein.
18         PROCEDURES TO PROTECT THIRD PARTY PRIVACY
19         3 7.   All forensic analysis of the imaged data will employ search protocols directed
2O   exclusively to the identification and extraction of data within the scope of this warrant. In
21   the event that the personnel lawfully conducting the analysis identify information pertaining
22   to crimes outside the scope of the warrant, such information will not be used except to obtain
23   a new warrant authorizing a search for such information. In the event a new warrant is
24   obtained, the government may make use the data seized in any lawful manner. Absent a
25   new warrant, the personnel conducting the analysis may continue to search for and seize
26   data only within the scope of this warrant.
27         38.    Specifically, there is probable cause that evidence of violations of 18 U.S.C. §
28   371 (Conspiracy); 18 U.S.C. §554 (Exportation Contrary to Law); 16 U.S.C. §§ 3372(a)(l)

     AFFIDAVIT IN SUPPORT OF APPLICATION           11
     FOR SEARCH WARRANT
       Case 3:19-mj-02762-JLB Document 1 Filed 07/02/19 PageID.17 Page 17 of 17



 1   and 3373(d), (Export of wildlife in violation of federal law); 16 U.S.C. §§1538(e) and
 2   l 540(b )( 1), (knowing exportation of fish and wildlife without filing the required declaration
 3   Form 3-177); and 16 U.S.C. §§ 1538(c)(l) and 1540(b)(l) (violation of regulations
 4   implementing the Convention on International Trade in Endangered Species), related to the
 5   illegal exportation and trafficking in coral will be found in the target account.
 6         CONCLUSION
 7         39.    Based on the foregoing, there is probable cause to believe the items identified
 8   in Attachment B constitute evidence of violations of 18 U.S.C. § 371 (Conspiracy); 18
 9   U.S.C. §554 (Exportation Contrary to Law); 16 U.S.C. §§3372(a)(l) (Export in violation of
10   federal law); 16 U.S.C. §§ 1538(e) and 1540(b)(l) (knowing exportation offish and wildlife
11   without filing the required declaration); 16 U.S.C. §§ 1538(c)(l) and 1540(b)(l) (knowing
12   violation of regulations implementing the Convention on International Trade in Endangered
13   Species), related to illegal trade in coral and will be found in the target account, as described
14   in Attachment A, during the time period described in Attachment B.
15

16

17
     Michelle Zetwo
     Special Agent
18   National Oceanic and Atmospheric Administration
19
     Office of Law Enforcement

20
     Subscribed and sworn to before me this 2,..     day of July, 2019.
21

22

23              LE   L . HORR:HARDL--
            D STATES MAGISTRATE JUDGE
24

25

26

27

28


     AFFIDAVIT IN SUPPORT OF APPLICATION            12
     FOR SEARCH WARRANT
